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               EXHIBIT A
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STATE OF MINNESOTA                                                          DISTRICT COURT

COUNTY OF DAKOTA                                                  FIRST JUDICIAL DISTRICT

                                                  CASE TYPE: CIVIL/OTHER CONTRACTS



 BILLY PERRY, individually and on behalf
 of all others similarly situated,                Case No. ____________

                       Plaintiff,
                                                                 SUMMONS
 v.
 BAY & BAY TRANSPORATION
 SERVICES, INC.

                       Defendant.



THIS SUMMONS IS DIRECTED TO: Bay & Bay Transportation Services, Inc., 2905 West
Service Road, Ste. 2000, Eagan, MN 55121.

1.      You are being sued. The Plaintiff has started a lawsuit against you. The Complaint is
attached to this Summons. Do not throw these papers away. They are official papers that start a
lawsuit and affect your legal rights, even if nothing has been filed with the court and even if
there is no court file number on this Summons.
2.    You must BOTH reply, in writing, AND get a copy of your reply to the
person/business who is suing you within 21 days to protect your rights. Your reply is called
an Answer. Getting your reply to the Plaintiff is called service.You must serve a copy of your
Answer or Answer and Counterclaim (Answer) within 21 days from the date you received the
Summons and Complaint.
        ANSWER: You can find the Answer form and instructions on the MN Judicial Branch
website at www.mncourts.gov/forms under the “Civil” category. The instructions will explain in
detail how to fill out the Answer form.
3.      You must respond to each claim. The Answer is your written response to the
Plaintiff's Complaint. In your Answer you must state whether you agree or disagree with each
paragraph of the Complaint. If you think the Plaintiff should not be given everything they
asked for in the Complaint, you must say that in your Answer.
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4.      SERVICE: You may lose your case if you do not send a written response to the
Plaintiff. If you do not serve a written Answer within 21 days, you may lose this case by default.
You will not get to tell your side of the story. If you choose not to respond, the Plaintiff may be
awarded everything they asked for in their Complaint. If you agree with the claims stated in the
Complaint, you don’t need to respond. A default judgment can than be entered against you
for what the Plaintiff asked for in the Complaint.
       To protect your rights, you must serve a copy of your Answer on the person who signed
this Summons in person or by mail at this address:
         Chestnut Cambronne PA
         100 Washington Avenue South, Suite 1700
         Minneapolis, MN 55401


5.       Carefully read the Instructions (CIV301) for the Answer for your next steps.
6.      Legal Assistance. You may wish to get legal help from an attorney. If you do not have
an attorney and would like legal help:
     ·   Visit www.mncourts.gov/selfhelp and click on the “Legal Advice Clinics” tab to get
         more information about legal clinics in each Minnesota county.
     ·   Court Administration may have information about places where you can get legal
         assistance.
NOTE: Even if you cannot get legal help, you must still serve a written Answer to protect
your rights or you may lose the case.
7.      Alternative Dispute Resolution (ADR). The parties may agree to or be ordered to
participate in an ADR process under Rule 114 of the Minnesota Rules of Practice. You must still
serve your written Answer, even if you expect to use ADR.


Dated: March 17, 2022                         Respectfully Submitted,

                                              /s/ Bryan L. Bleichner
                                              Bryan L. Bleichner (MN 0326689)
                                              Christopher P. Renz (MN # 0313415)
                                              CHESTNUT CAMBRONNE PA
                                              100 Washington Avenue South, Suite 1700
                                              Minneapolis, MN 55401
                                              Phone: (612) 339-7300
                                              bbleichner@chesnutcambronne.com
                                              crenz@chestnutcambronne.com
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                                                  Dylan Gould (pro hac vice forthcoming)
                                                  MARKOVITS, STOCK & DEMARCO, LLC
                                                  3825 Edwards Road, Suite 650
                                                  Cincinnati, OH 45209
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                                                 Gary M. Klinger (pro hac vice forthcoming)
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                                                 David K. Lietz* (pro hac vice forthcoming).
                                                 MILBERG COLEMAN BRYSON PHILLIPS
                                                 GROSSMAN, PLLC
                                                 5101 Wisconsin Ave. NW, Suite 305
                                                 Washington, D.C. 20016
                                                 Telephone: (202) 429-2290
                                                 dlietz@milberg.com



                                                 Attorneys for Plaintiff and the Proposed Class


                                    ACKNOWLEDGEMENT

       The undersigned hereby acknowledges that costs, disbursements, and reasonable attorneys’

and witness fees may be awarded pursuant to Minn. Stat. § 549.211, to the parties against whom

the allegations in this pleading are asserted.


Dated: March 17, 2021                                    /s/ Bryan L. Bleichner___________
                                                         Bryan L. Bleichner (#0326689)
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STATE OF MINNESOTA                                                             DISTRICT COURT

COUNTY OF DAKOTA                                                    FIRST JUDICIAL DISTRICT

                                                      CASE TYPE: CIVIL/OTHER CONTRACTS



 BILLY PERRY, individually and on behalf
 of all others similarly situated,                    Case No. ____________

                        Plaintiff,
                                                      CLASS ACTION COMPLAINT
 v.                                                   JURY TRIAL DEMANDED
 BAY & BAY TRANSPORTATION
 SERVICES, INC.,

                        Defendant.


                                 CLASS ACTION COMPLAINT

       Plaintiff Billy Perry, individually and on behalf of all others similarly situated, brings this

action against Defendant Bay & Bay Transportation Services, Inc. (“Defendant” or “Bay & Bay

Transportation Services”), a Minnesota corporation, to obtain damages, restitution, and injunctive

relief for the Class, as defined below, from Defendant. Plaintiff makes the following allegations

upon information and belief, except as to his own actions, the investigation of his counsel, and the

facts that are a matter of public record.

                                     NATURE OF THE ACTION

       1.      This class action arises out of the recent targeted cyberattack and data breach in

November 2021 (“Data Breach”) on Defendant’s network that resulted in unauthorized access to

customer and employee data. As a result of the Data Breach, Plaintiff and approximately 7,500




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Class Members1 suffered ascertainable losses in the form of the loss of the benefit of their bargain,

out-of-pocket expenses and the value of their time reasonably incurred to remedy or mitigate the

effects of the attack.

        2.      In addition, Plaintiff’s and Class Members’ sensitive personal information—which

was entrusted to Defendant and its officials and agents—was compromised and unlawfully

accessed due to the Data Breach.

        3.      Information compromised in the Data Breach includes Defendant’s customers’ and

(current and former) employees’ names, addresses, Social Security numbers, dates of birth,

drivers’ license numbers, and direct deposit information (collectively, “Private Information”).

        4.      Plaintiff brings this class action lawsuit on behalf of those similarly situated to

address Defendant’s inadequate safeguarding of Class Members’ Private Information that it

collected and maintained.

        5.      Defendant maintained the Private Information in a reckless and negligent manner.

In particular, the Private Information was maintained on Defendant’s computer system and

network in a condition vulnerable to cyberattacks. Upon information and belief, the mechanism of

the cyberattack and potential for improper disclosure of Plaintiff’s and Class Members’ Private

Information was a known risk to Defendant, and thus Defendant was on notice that failing to take

steps necessary to secure the Private Information from those risks left that property in a dangerous

condition.




1
 See Cases Currently Under Investigation, Office for Civil Rights, U.S. Dept. of Health and
Human Services, https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited Aug. 24,
2021).
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       6.      Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant collected and maintained is now in

the hands of data thieves.

       7.      Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including, e.g., opening new financial accounts in Class Members’

names, taking out loans in Class Members’ names, using Class Members’ names to obtain medical

services, obtaining driver’s licenses in Class Members’ names but with another person’s

photograph, and giving false information to police during an arrest.

       8.      As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members must now

and in the future closely monitor their financial accounts to guard against identity theft.

       9.      Plaintiff and Class Members may also incur out of pocket costs for, e.g., purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft, the risk of which was created by the Data Breach.

       10.     By his Complaint, Plaintiff seeks to remedy these harms on behalf of himself and

all similarly situated individuals whose Private Information was accessed during the Data Breach.

       11.     Plaintiff seeks remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, and adequate credit monitoring services

funded by Defendant.

       12.     Accordingly, Plaintiff brings this action against Defendant seeking redress for its

unlawful conduct, and asserting claims on behalf of the Class (defined infra) for negligence and

negligence per se.


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                                   JURISDICTION AND VENUE

         13.   This Court has jurisdiction over this action pursuant to Minn. Const. art. VI, § 3

and Minn. Stat. § 484.01, subd. 1.

         14.   This Court has original jurisdiction of this action because Defendant (a) is

incorporated in Minnesota with the majority of its business in the State of Minnesota, (b) maintains

its principal place of business in Minnesota, (c) is registered to do business in Minnesota, (d) is

doing business in Minnesota, (e) committed the unlawful acts in Minnesota and (f) caused the

resulting injury in Minnesota. Defendant is subject to the personal and general jurisdiction of this

Court.

         15.   Venue is proper in this Court pursuant to Minn. Stat. § 542.09 because Defendant’s

principal place of business is located in the City of Eagan, County of Dakota, State of Minnesota.

         16.   Upon information and belief, Plaintiff’s individual damages do not exceed $75,000,

exclusive of costs and interest.

                                            PARTIES

         17.   Plaintiff Billy Perry is, and at all times mentioned herein was, an individual citizen

of the State of Minnesota. Plaintiff applied for employment with Defendant in February of 2021.

As a condition of employment, he was required to provide his Private Information to Defendant.

Plaintiff received a data breach notice letter dated February 9, 2022 informing him that his Private

Information, such as his name, address, Social Security Number, date of birth, and driver’s license,

and his direct deposit information were compromised in the Data Breach.

         18.   Defendant Bay & Bay Transportation Services is a large publicly traded corporation

incorporated under the laws of the State of Minnesota with its principal place of business located

in Eagan, Minnesota.


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                                   DEFENDANT’S BUSINESS

          19.   Bay & Bay Transportation Services is a nationwide trucking and logistics company

that delivers supply chain solutions to businesses.

          20.   The Commercial Carrier Journal and Transport Topics rank Bay & Bay

Transportation Services as one of North America’s top refrigerated carriers.

          21.   On information and belief, in the ordinary course of business, Defendant requires

customers and/or employees to provide sensitive personal and private information such as:

                   ·   Full Name;

                   ·   Residential address;

                   ·   Social Security number;

                   ·   Date of Birth;

                   ·   Driver’s license; and

                   ·   Direct deposit information.

          22.   Through its business, Defendant acquired and stored Plaintiff’s and Class

Members’ Social Security numbers, the theft of which would leave Plaintiff and Class Members

open to even further risks of identity theft.

          23.   Defendant’s Website contains a “Privacy Policy” that explains how it handles

Plaintiff’s and Class Members’ Private Information.2

          24.   On information and belief, the Privacy Policy is provided to every customer upon

request and is posted on Defendant’s website.3



2
 https://bayandbay.com/privacy-
policy/#:~:text=We%20do%20not%20sell%2C%20trade,for%20the%20purposes%20outlined%
20above (last visited Mar. 15, 2022).
3
    Id.
                                                      5
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          25.   Similarly, on information and belief, in the course of collecting Private Information

from prospective, current and former employees, Defendant promised to provide confidentiality

and adequate security for employee data through their applicable privacy policy and through other

disclosures.

          26.   Because of the highly sensitive and personal nature of the information Defendant

acquires and stores with respect to its customers and/or employees and prospective employees,

Defendant promises to, among other things: adopt and maintain “appropriate data collection,

storage and processing practices and security measures to protect against unauthorized access,

alteration, disclosure or destruction of your personal information, username, password, transaction

information and data stored on our site.” 4

          27.   As a condition of purchasing goods and services from Defendant, Defendant

requires that its customers entrust it with highly sensitive personal information, including the

Private Information.

          28.   As a condition of employment with Defendant, Defendant requires that its

employees and prospective employees entrust it with highly sensitive personal information,

including the Private Information.

          29.   By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible for protecting Plaintiff and Class Members’ Private

Information from unauthorized disclosure.

          30.   Plaintiff and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information.



4
    Id.
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          31.   Plaintiff and the Class Members relied on Defendant to keep their Private

Information confidential and securely maintained, to use this information for business purposes

only, and to make only authorized disclosures of this information.

                        THE CYBERATTACK AND DATA BREACH

          32.   On or about January 5, 2022, Defendant discovered suspicious activity on its IT

systems. 5

          33.   Following the discovery of suspicious activity, Defendant launched an

investigation, which concluded that unauthorized third parties accessed files containing Private

Information via a ransomware attack and published Private Information on the dark web.6

          34.   On information and belief, the investigation revealed that approximately 7,500

individuals were victims of the Data Breach.

          35.   Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

          36.   Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches preceding the date of the breach.

          37.   In light of recent high-profile data breaches at other companies similar to

Defendant, Defendant knew or should have known that their electronic records would be targeted

by cybercriminals.

          38.   Moreover, Defendant had previously experienced another cyberattack in 2018.



5
  Nate Taback, Minnesota Trucking Company hit in 2nd Ransomeware Attack, (Jan. 7, 2022),
https://www.freightwaves.com/news/minnesota-trucking-company-hit-in-2nd-ransomware-attack
(last visited Mar. 15, 2022).
6
    Id.
                                                 7
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Therefore, Defendant knew or should have known their electronic records would be targeted by

cybercriminals.

       39.     Indeed, cyberattacks have become so notorious that the FBI and U.S. Secret Service

have issued a warning to potential targets so they are aware of, and prepared for, a potential attack.

       40.     In fact, according to the cybersecurity firm PurpleSec, a survey of 1,100 IT

professionals showed 90% of clients had suffered a ransomware attack in the past year.7

       41.     Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Defendant.

                        Defendant Fails to Comply with FTC Guidelines

       50.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

       51.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cyber-security guidelines for businesses. The guidelines

note that businesses should protect the personal customer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.8 The guidelines also recommend that businesses use an intrusion detection


7
 2021 Cyber Security Statistics, The Ultimate List of Stats, Data, & Trends,
https://purplesec.us/resources/cyber-
securitystatistics/#:~:text=Of%20the%201%2C100%20IT%20professionals,every%2011%20sec
onds%20by%202021 (last visited Mar. 15, 2022).
8
 Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf (last visited Aug. 24, 2021).

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system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach.9

          52.   The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to sensitive data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.

          53.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

          54.   Defendant failed to properly implement basic data security practices.

          55.   Defendant’s failure to employ reasonable and appropriate measures to protect

against and detect unauthorized access to customers’ Private Information constitutes an unfair act

or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.

          56.   Defendant was at all times fully aware of its obligation to protect the Private

Information of their customers. Defendant was also aware of the significant repercussions that

would result from its failure to do so.




9
    Id.
                                                 9
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                     Defendant Failed to Comply with Industry Standards

       57.     As shown above, several best practices have been identified that a minimum should

be implemented by businesses like Defendant, including but not limited to: educating all

employees; strong passwords; multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption, making data unreadable without a key; multi-factor authentication;

backup data, and; limiting which employees can access sensitive data.

       58.     Other best cybersecurity practices that are standard include installing appropriate

malware detection software; monitoring and limiting the network ports; protecting web browsers

and email management systems; setting up network systems such as firewalls, switches and

routers; monitoring and protection of physical security systems; protection against any possible

communication system; and training staff regarding critical points.

       59.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       60.     These foregoing frameworks are existing and applicable industry standards in the

any industry, and Defendant failed to comply with these accepted standards, thereby opening the

door to the cyber incident and causing the Data Breach.

                                  DEFENDANT’S BREACH

       61.     Defendant breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer


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systems and data. Defendant’s unlawful conduct includes, but is not limited to, the following acts

and/or omissions:

               a.     Failing to maintain an adequate data security system to reduce the risk of

                      data breaches and cyberattacks;

               b.     Failing to adequately protect customers’ Private Information;

               c.     Failing to properly monitor its own data security systems for existing

                      intrusions;

               d.     Failing to ensure that its vendors with access to its computer systems and

                      data employed reasonable security procedures;

               e.     Failing to train its employees in the proper handling of emails containing

                      Private Information and maintain adequate email security practices;

               f.     Failing to implement policies and procedures to prevent, detect, contain,

                      and correct security violations in violation of 45 C.F.R. § 164.308(a)(1)(i);

               g.     Failing to implement procedures to review records of information system

                      activity regularly, such as audit logs, access reports, and security incident

                      tracking reports in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

               h.     Failing to comply with FTC guidelines for cybersecurity, in violation of

                      Section 5 of the FTC Act; and

               i.     Failing to adhere to industry standards for cybersecurity.

       62.     Defendant negligently and unlawfully failed to safeguard Plaintiff and Class

Members’ Private Information by allowing cyberthieves to access Defendant’s computer network

and systems which contained unsecured and unencrypted Private Information.

       63.     Accordingly, as outlined below, Plaintiff and Class Members now face a present


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and substantially increased risk of fraud and identity theft. In addition, Plaintiff and the Class

Members also lost the benefit of the bargain they made with Defendant.

               Cyberattacks and Data Breaches Cause Disruption and Put Consumers
               at a Present and Substantially Increased Risk of Fraud and Identity Theft

         64.      Cyberattacks and data breaches at companies like Defendant are especially

problematic because they can negatively impact the overall daily lives of individuals affected by

the attack.

         65.      Researchers have found that among medical service providers that experience a

data security incident, the death rate among patients increased in the months and years after the

attack. 10

         66.      Researchers have further found that at medical service providers that experienced

a data security incident, the incident was associated with deterioration in timeliness and patient

outcomes, generally.11

         67.      The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will face

“substantial costs and time to repair the damage to their good name and credit record.”12

         68.      That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal Private Information is to


10
  See Nsikan Akpan, Ransomware and Data Breaches Linked to Uptick in Fatal Heart Attacks,
PBS (Oct. 24, 2019), https://www.pbs.org/newshour/science/ransomware-and-other-data-
breaches-linked-to-uptick-in-fatal-heart-attacks (last visited Aug. 24, 2021).
11
   See Sung J. Choi et al., Data Breach Remediation Efforts and Their Implications for Hospital
Quality, 54 Health Services Research 971, 971-980 (2019). Available at
https://onlinelibrary.wiley.com/doi/full/10.1111/1475-6773.13203 (last visited Aug. 25, 2021).
12
   See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (2007). Available at https://www.gao.gov/new.items/d07737.pdf (last visited Aug. 25,
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monetize it. They do this by selling the spoils of their cyberattacks on the black market to identity

thieves who desire to extort and harass victims, and take over victims’ identities in order to engage

in illegal financial transactions under the victims’ names. Because a person’s identity is akin to a

puzzle, the more accurate pieces of data an identity thief obtains about a person, the easier it is for

the thief to take on the victim’s identity, or otherwise harass or track the victim. For example,

armed with just a name and date of birth, a data thief can utilize a hacking technique referred to as

“social engineering” to obtain even more information about a victim’s identity, such as a person’s

login credentials or Social Security number. Social engineering is a form of hacking whereby a

data thief uses previously acquired information to manipulate individuals into disclosing additional

confidential or personal information through means such as spam phone calls and text messages

or phishing emails.

        69.    The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone

steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing a credit freeze on their credit, and correcting their credit

reports. 13

        70.    Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

        71.    Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name



13
   See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/#/Steps (last
visited Aug. 25, 2021).

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and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name.

         72.    Moreover, theft of Private Information is also gravely serious. Private Information

is an extremely valuable property right.14

         73.    Its value is axiomatic, considering the value of “big data” in corporate America and

the fact that the consequences of cyber thefts include heavy prison sentences. Even this obvious

risk to reward analysis illustrates beyond doubt that Private Information has considerable market

value.

         74.    It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs and when it is discovered, and also between when Private Information

and/or financial information is stolen and when it is used.

         75.    According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.

See GAO Report, at p. 29.

         76.    Private Information is such a valuable commodity to identity thieves that once the


14
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
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information has been compromised, criminals often trade the information on the “cyber black-

market” for years.

          77.   There is a strong probability that entire batches of information stolen from

Defendant have been dumped on the black market and are yet to be dumped on the black market,

meaning Plaintiff and Class Members are at a present and substantially increased risk of fraud and

identity theft for many years into the future.

          78.   Thus, Plaintiff and Class Members must vigilantly monitor their financial and

medical accounts for many years to come.

          79.   Sensitive Private Information can sell for as much as $363 per record according to

the Infosec Institute.15 Private Information particularly valuable because criminals can use it to

target victims with frauds and scams. Once Private Information is stolen, fraudulent use of that

information and damage to victims may continue for years.

          80.   For example, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.16 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security Numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity.17 Each of these fraudulent

activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s


15
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last visited Aug. 25, 2021).
16
  Identity Theft and Your Social Security Number, Social Security Administration (2018) at 1.
Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (last visited Aug. 25, 2021).
17
     Id at 4.

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employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

        81.     Moreover, it is not an easy task to change or cancel a stolen Social Security number.

        82.     An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may not be

effective, as “[t]he credit bureaus and banks are able to link the new number very quickly to the

old number, so all of that old bad information is quickly inherited into the new Social Security

number.”18

        83.     This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card

information, personally identifiable information and Social Security Numbers are worth more than

10x on the black market.”19

        84.     For this reason, Defendant knew or should have known about these dangers and

strengthened its data and email handling systems accordingly. Defendant was put on notice of the

substantial and foreseeable risk of harm from a data breach, yet Defendant failed to properly

prepare for that risk.

                                       Plaintiff’s Experience

        85.     Plaintiff provided his Private Information to Defendant as a condition of his

prospective employment with them.



18
  Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last visited Aug. 25, 2021).
19
  Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last visited Aug. 25,
2021).
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          86.   On or about February 9, 2022, Plaintiff received a notice of data breach (“Notice of

Data Breach Letter”) from Defendant informing him that his Private Information stolen by

cyberthieves in the Data Breach.

          87.   As a result of the Data Breach, Defendant directed Plaintiff to take certain steps to

protect his Private Information and otherwise mitigate his damages.

          88.   As a result of the Data Breach and the information that he received in the Notice of

Data Breach Letter, Plaintiff spends approximately 3-4 hours per week dealing with the

consequences of the Data Breach (self-monitoring his bank and credit accounts), as well as his

time spent verifying the legitimacy of the Notice of Data Breach Data Breach Letter,

communicating with his bank, exploring credit monitoring and identity theft insurance options,

and signing up for the credit monitoring supplied by Defendant. This time has been lost forever

and cannot be recaptured.

          89.   In addition, as a result of the Data Breach, Plaintiff fell victim to a scam that caused

him to permanently lose $500. Specifically, Plaintiff believes the hackers used his Private

Information to contact him at which time they impersonated his bank and directed him to send a

one-time transaction of $500 as a security measure to supposedly freeze his account from

unauthorized activity.

          90.   Plaintiff is very careful about sharing his own Private Information and has never

knowingly transmitted unencrypted Private Information over the internet or any other unsecured

source.

          91.   Plaintiff stores any and all documents containing Private Information in a secure

location, and destroys any documents he receives in the mail that contain any Private Information

or that may contain any information that could otherwise be used to compromise his identity and


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financial accounts. Moreover, he diligently chooses unique usernames and passwords for his

various online accounts.

       92.     Plaintiff suffered actual injury and damages due to Defendant’s mismanagement of

his Private Information before the Data Breach.

       93.     Plaintiff suffered actual injury in the form of damages and diminution in the value

of his Private Information —a form of intangible property that he entrusted to Defendant for the

purpose of providing him payroll and benefit services, which was compromised in and as a result

of the Data Breach.

       94.     Plaintiff suffered lost time, annoyance, interference, and inconvenience as a result

of the Data Breach, and he has suffered anxiety and increased concerns for the theft of his privacy

since he received the Notice of Data Breach Letter. He is especially concerned about the theft of

his full name paired with his Social Security number.

       95.     Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from his stolen Private Information,

especially his Social Security number, being placed in the hands of unauthorized third-parties and

possibly criminals.

       96.     Plaintiff has a continuing interest in ensuring that his Private Information, which,

upon information and belief, remains backed up in Defendant’s possession, is protected and

safeguarded from future breaches.

                            Plaintiff’s and Class Members’ Damages

       97.     To date, Defendant has done nothing to provide Plaintiff and the Class Members

with relief for the damages they have suffered as a result of the Data Breach.




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         98.    Defendant has merely offered Plaintiff and Class Members complimentary fraud

and identity monitoring services for up to twelve (12) months, but this does nothing to compensate

them for damages incurred and time spent dealing with the Data Breach.

         99.    Plaintiff and Class Members have been damaged by the compromise of their Private

Information in the Data Breach.

         100.   Plaintiff’s Private Information was compromised in the Data Breach and is now in

the hands of the cybercriminals who accessed Defendant’s computer system.

         101.   Plaintiff’s Private Information was compromised as a direct and proximate result

of the Data Breach.

         102.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm from

fraud and identity theft.

         103.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

         104.   Plaintiff and Class Members face the present and substantially increased risk of

out-of-pocket fraud losses such as loans opened in their names, medical services billed in their

names, tax return fraud, utility bills opened in their names, credit card fraud, and similar identity

theft.

         105.   Plaintiff and Class Members face the present and substantially increased risk of

being targeted for future phishing, data intrusion, and other illegal schemes based on their Private

Information as potential fraudsters could use that information to more effectively target such

schemes to Plaintiff and Class Members.




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       106.    Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       107.    Plaintiff and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

       108.    Plaintiff and Class Members were also damaged via benefit-of-the-bargain

damages. Plaintiff and Class Members overpaid for a service or product that was intended to be

accompanied by adequate data security but was not. Part of the price Plaintiff and Class Members

paid to Defendant was intended to be used by Defendant to fund adequate security of Defendant’s

computer network and Plaintiff and Class Members’ Private Information. Thus, Plaintiff and the

Class Members did not get what they paid for and agreed to.

       109.    Plaintiff and Class Members have spent and will continue to spend significant

amounts of time to monitor their personal and sensitive information for misuse.

       110.    Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

               a. Reviewing and monitoring sensitive accounts and finding fraudulent insurance

                   claims, loans, and/or government benefits claims;

               b. Purchasing credit monitoring and identity theft prevention;

               c. Placing “freezes” and “alerts” with reporting agencies;




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               d. Spending time on the phone with or at financial institutions, healthcare

                   providers, and/or government agencies to dispute unauthorized and fraudulent

                   activity in their name;

               e. Contacting financial institutions and closing or modifying financial accounts;

                   and

               f. Closely reviewing and monitoring Social Security Number, medical insurance

                   accounts, bank accounts, and credit reports for unauthorized activity for years

                   to come.

       111.    Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected.

       112.    Further, as a result of Defendant’s conduct, Plaintiff and Class Members are forced

to live with the anxiety and emotional distress that their Private Information—which contains the

most intimate details about a person’s life—may be disclosed to the entire world, thereby

subjecting them to embarrassment and depriving them of any right to privacy whatsoever.

                               CLASS ACTION ALLEGATIONS

       113.    Plaintiff brings this action on behalf of themselves and on behalf of all other persons

similarly situated (“the Class”).

       114.    Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

       All persons Defendant identified as being among those individuals impacted by the
       Data Breach, including all who were sent a notice of the Data Breach (the “Class”).

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       115.    The proposed Class is referred to collectively as the “Class.” Members of the Class

are referred to collectively as “Class Members.”

       116.    Excluded from the Class are Defendant’s officers and directors; any entity in which

Defendant has a controlling interest; and the affiliates, legal representatives, attorneys, successors,

heirs, and assigns of Defendant. Excluded also from the Class are members of the judiciary to

whom this case is assigned, their families and Members of their staff.

       117.    Plaintiff reserves the right to amend or modify the Class definition as this case

progresses.

       118.    Numerosity. The Members of the Class are so numerous that joinder of all of them

is impracticable. While the exact number of Class Members is unknown to Plaintiff at this time,

based on information and belief, the Class consists of approximately 7,500 individuals whose

Private Information was compromised in the Data Breach.

       119.    Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

       a.      Whether Defendant unlawfully used, maintained, lost, or disclosed Plaintiff

               and Class Members’ Private Information;

       b.      Whether Defendant failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the

               information compromised in the Data Breach;

       c.      Whether Defendant’s data security systems prior to and during the Data

               Breach complied with applicable data security laws and regulations;




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       d.     Whether Defendant’s data security systems prior to and during the Data

              Breach were consistent with industry standards;

       e.     Whether Defendant owed a duty to Class Members to safeguard their

              Private Information;

       f.     Whether Defendant breached its duty to Class Members to safeguard their

              Private Information;

       g.     Whether Defendant knew or should have known that its data security

              systems and monitoring processes were deficient;

       h.     Whether Defendant should have discovered the Data Breach sooner;

       i.     Whether Plaintiff and Class Members suffered legally cognizable damages

              as a result of Defendant’s misconduct;

       j.     Whether Defendant’s conduct was negligent;

       k.     Whether Defendant breached a fiduciary duty to Plaintiff and Class

              Members;

       l.     Whether Defendant failed to provide notice of the Data Breach in a timely

              manner; and

       m.     Whether Plaintiff and Class Members are entitled to damages, civil

              penalties, treble damages, and/or injunctive relief.

       120.   Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data

Breach.




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        121.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Class Members. Plaintiff’s Counsel are competent and experienced in

litigating class actions.

        122.    Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that all of Plaintiff’s and Class Members’ data was stored on the

same computer system and unlawfully accessed in the same way. The common issues arising from

Defendant’s conduct affecting Class Members set out above predominate over any individualized

issues. Adjudication of these common issues in a single action has important and desirable

advantages of judicial economy.

        123.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

        124.    Defendant has acted on grounds that apply generally to the Class as a whole, so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.




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                                     CAUSES OF ACTION
                                         COUNT I

                                         NEGLIGENCE
                          (On Behalf of Plaintiff and All Class Members)

        124.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 123 above

as if fully set forth herein.

        125.    Defendant required Plaintiff and Class Members to submit non-public personal

information as a condition of employment (or prospective employment) and/or as a condition of

purchasing goods and services from Defendant.

        126.    By collecting and storing this data in its computer property, Defendant had a duty

of care to use reasonable means to secure and safeguard its computer property—and Class

Members’ Private Information held within it—to prevent disclosure of the information, and to

safeguard the information from theft. Defendant’s duty included a responsibility to implement

processes by which they could detect a breach of its security systems in a reasonably expeditious

period of time and to give prompt notice to those affected in the case of a data breach.

        127.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

        128.    Defendant’s duty of care to use reasonable security measures arose because

Defendant was able to ensure that its systems were sufficient to protect against the foreseeable risk

of harm to Class Members from a data breach.

        129.    In addition, Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .


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practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       130.     Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

           a.      Failing to adopt, implement, and maintain adequate security measures to

                   safeguard Class Members’ Private Information;

           b.      Failing to adequately monitor the security of their networks and systems;

           c.      Failure to periodically ensure that their network system had plans in place to

                   maintain reasonable data security safeguards;

           d.      Allowing unauthorized access to Class Members’ Private Information;

           e.      Failing to detect in a timely manner that Class Members’ Private Information

                   had been compromised;

           f.      Failing to timely notify Class Members about the Data Breach so that they could

                   take appropriate steps to mitigate the potential for identity theft and other

                   damages; and

           g.      Failing to have mitigation and back-up plans in place in the event of a cyber-

                   attack and data breach.

       131.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the past few years.

       132.     It was therefore foreseeable that the failure to adequately safeguard Class Members’


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Private Information would result in one or more types of injuries to Class Members.

        133.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of Data Breach.

        134.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                            COUNT II

                                        Negligence Per Se
                         (On Behalf of Plaintiffs and All Class Members)

        135.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 134 above

as if fully set forth herein.

        136.    Pursuant to Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45,

Defendant had a duty to provide fair and adequate computer systems and data security practices to

safeguard Plaintiffs’ and Class Members’ Private Information.

        137.    Plaintiff and Class Members are within the class of persons that the FTCA was

intended to protect.

        138.    The harm that occurred as a result of the Data Breach is the type of harm the FTCA

was intended to guard against. The FTC has pursued enforcement actions against businesses,

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm as that suffered by Plaintiff and the Class Members.

        139.    Defendant breached its duties to Plaintiff and Class Members under the Federal

Trade Commission Act by failing to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard Plaintiffs’ and Class Members’ Private Information.

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        140.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

        141.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiffs

and Class Members, Plaintiffs and Class Members would not have been injured.

        142.    The injury and harm suffered by Plaintiffs and Class Members was the reasonably

foreseeable result of Defendant’s breach of its duties. Defendant knew or should have known that

it was failing to meet their duties, and that Defendant’s breach would cause Plaintiffs and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

        143.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiffs and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                            COUNT III

                             BREACH OF IMPLIED CONTRACT
                         (On Behalf of Plaintiffs and All Class Members)

        144.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 143 above

as if fully set forth herein.

        145.    Defendant required Plaintiff and the Class Members to provide their Private

Information as a condition of their employment (or prospective employment) and/or as a condition

of purchasing goods and services.

        146.    As a result, Plaintiff and the Class provided their Private Information. In so doing,

Plaintiff and the Class entered into implied contracts with Defendant by which Defendant agreed

to safeguard and protect such information, to keep such information secure and confidential, and

to timely and accurately notify Plaintiff and the Class if their data had been breached and

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compromised or stolen.

       147.    Plaintiff and the Class fully performed their obligations under the implied contracts

with Defendant.

       148.    Defendant breached the implied contracts it made with Plaintiff and the Class

Members by failing to safeguard and protect their personal and financial information, including

the personal information, and by failing to provide timely and accurate notice to them that personal

and financial information, along with the personal information of their beneficiaries and

dependents, was compromised as a result of the data breach.

       149.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and the Class Members have suffered (and will continue to suffer) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; actual identity theft crimes, fraud, and abuse, resulting in monetary loss

and economic harm; loss of the confidentiality of the stolen confidential data; the illegal sale of

the compromised data on the dark web; expenses and/or time spent on credit monitoring and

identity theft insurance; time spent scrutinizing bank statements, credit card statements, and credit

reports; expenses and/or time spent initiating fraud alerts, decreased credit scores and ratings; lost

work time; emotional distress; and other economic and non-economic harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

           a) For an Order certifying this action as a class action and appointing Plaintiff as class

               representatives and their counsel as class counsel;




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          b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

             complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

             Class Members’ Private Information;

          c) For equitable relief compelling Defendant to utilize appropriate methods and

             policies with respect to consumer data collection, storage, and safety, and to

             disclose with specificity the type of Private Information compromised during the

             Data Breach;

          d) For equitable relief requiring restitution and disgorgement of the revenues

             wrongfully retained as a result of Defendant’s wrongful conduct;

          e) Ordering Defendant to pay for not less than three years of credit monitoring services

             for Plaintiff and the Class;

          f) For an award of actual damages, compensatory damages, statutory damages, and

             statutory penalties, in an amount to be determined, as allowable by law;

          g) For an award of attorneys’ fees and costs, and any other expense, including expert

             witness fees;

          h) Pre- and post-judgment interest on any amounts awarded; and

          i) Such other and further relief as this court may deem just and proper.



                                 JURY TRIAL DEMANDED

      Plaintiff demands a trial by jury on all claims so triable.



Dated: March 17, 2021                             Respectfully Submitted,

                                                 /s/ Bryan L. Bleichner
                                                 Bryan L. Bleichner (MN # 0326689)

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                                    ACKNOWLEDGEMENT

       The undersigned hereby acknowledges that costs, disbursements, and reasonable attorneys’

and witness fees may be awarded pursuant to Minn. Stat. § 549.211, to the parties against whom

the allegations in this pleading are asserted.


Dated: March 17, 2022                                  /s/ Bryan L. Bleichner___________
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